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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION


MOMS FOR LIBERTY - BREVARD
COUNTY, FL, AMY KNESSY,
ASHLEY HALL, KATIE DELANEY
and JOSEPH CHOLEWA,

                       Plaintiffs,

v.                                                     Case No: 6:21-cv-1849-RBD-GJK

BREVARD PUBLIC SCHOOLS,
MISTY HAGGARD-BELFORD,
MATT SUSIN,
CHERYL MCDOUGALL,
KATYE CAMPBELL and
JENNIFER JENKINS

                       Defendants.


                                          ORDER

       For a just and efficient resolution of this case, the parties are DIRECTED to read

and comply with the Middle District of Florida’s Local Rules. See Local Rule 1.01(a).

While not exhaustive, this Order establishes deadlines for filings required at the initial

stages of an action.

       This Court makes an active effort to review each case to identify parties and

interested corporations in which the assigned District Judge or Magistrate Judge may

have an interest, and for other matters that might require consideration of recusal.

Compliant with Local Rule 3.03, within fourteen (14) days from the day of this Order or,

if a party joins this action subsequent to the entry of this Order, from the date of a party’s

first appearance, each party, pro se party, governmental party, intervenor, non-party
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movant, and Rule 69 garnishee is DIRECTED to file and serve a Certificate of Interested

Persons and Corporate Disclosure Statement substantially in the form attached. 1 Each

party has a continuing obligation to file and serve an amended certificate within fourteen

(14) days of discovering any ground for amendment, for conflict of interest, for recusal,

or for disqualification of the judicial officer. See Local Rule 3.03.

           No later than fourteen (14) days from the date of this Order, counsel and any pro

 se party shall comply with Local Rule 1.07(c) and shall file and serve a certification if the

 instant action should be designated as a similar or successive case pursuant to Local

 Rule 1.07. The parties shall utilize the attached form titled Notice of Pendency of Other

 Actions.

           The parties are DIRECTED to consult Local Rule 3.02 to determine whether this

 action requires a case management conference and case management report (CMR), or

 if it falls under one of the exceptions listed in Local Rule 3.02(d). If a CMR is required,

 utilization of the attached CMR form is mandatory. The CMR must be filed (1) within

 forty days after any defendant appears in an action originating in this court, (2) within

 forty days after the docketing of an action removed or transferred to this court, or (3)

 within seventy days after service on the United States attorney in an action against the

 United States, its agencies or employees. Judges may have a special CMR form for

 certain types of cases listed in Local Rule 3.02(d). These forms can be found at

 www.flmd.uscourts.gov under the Forms tab for each judge.

       DONE AND ORDERED in Chambers in Orlando, Florida, on November 8, 2021.

       1 No party may seek discovery from any source before filing and serving a
Certificate of Interested Persons and Corporate Disclosure Statement. A motion,
memorandum, response, or other paper (including emergency motions) may be denied
or stricken unless the filing party has previously filed and served a Certificate of
Interested Persons and Corporate Disclosure Statement.
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Copies to:
Counsel of Record
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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

 [Insert caption of the case]
                                  Certificate of Interested Persons and
                                    Corporate Disclosure Statement

        I hereby disclose the following pursuant to this Court’s Order on Interested Persons and
 Corporate Disclosure:

         1.      The name of each person, attorney, association of persons, firm, law firm, partnership,
 and corporation that has or may have an interest in a party to this action or in the outcome of this action,
 including subsidiaries, conglomerates, affiliates, parent corporations, publicly-traded companies that
 own 10% or more of a party’s stock, and all other identifiable legal entities related to a party:
                          [insert list]1

         2.       The name of every other entity whose publicly-traded stock, equity, or debt may be
 substantially affected by the outcome of the proceedings:

                           [insert list]

        3.      The name of every other entity which is likely to be an active participant in the
 proceedings, including the debtor and members of the creditors’ committee (or if no creditors’
 committee the 20 largest unsecured creditors):

                           [insert list]

          4.       The name of each victim (individual and corporate), including every person who may
 be entitled to restitution:

                           [insert list]

           5.     Check one of the following:

    _____         a. I certify that I am unaware of any actual or potential conflict of interest involving
 the District Judge and Magistrate Judge assigned to this case and will immediately notify the Court in
 writing upon learning of any such conflict.
 - or -
    _____         b. I certify that I am aware of a conflict or basis of recusal of the District Judge or
 Magistrate Judge as follows:

                           [insert explanation]




       1 A party should not routinely list the assigned District Judge or Magistrate Judge as an
interested person absent some non-judicial interest.
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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

MOMS FOR LIBERTY - BREVARD COUNTY, FL, ET AL.,
   Plaintiff,

v.                                               Case No. 6:21-CV-1849-RBD-GJK

BREVARD PUBLIC SCHOOLS, ET AL.,

         Defendant.
___________________________________

                      Notice of Pendency of Other Actions
      In accordance with Local Rule 1.07(c), I certify that the instant action is related to
pending or closed civil or criminal case(s) previously filed in this Court, or any other
Federal or State court, or administrative agency as indicated below:
      __________________________________________________________________
      __________________________________________________________________
      __________________________________________________________________

      I further certify that I will serve a copy of this Notice of Pendency of Other Actions
upon each party no later than fourteen days after appearance of the party.

Dated:



Plaintiff(s)Counsel of Record                           Defendant(s) Counsel of Record
          or Pro Se Party                                     or Pro Se Party
   [Address and Telephone]                                 [Address and Telephone]
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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION

MOMS FOR LIBERTY - BREVARD COUNTY, FL, ET AL.
   Plaintiff,

v.                                                 Case No. 6:21-CV-1849-RBD-GJK

BREVARD PUBLIC SCHOOLS, ET AL.
    Defendant.


                             Uniform Case Management Report

       The goal of this case management report is to “secure the just, speedy, and
inexpensive determination of” the action. See Fed. R. Civ. P. 1. Under Local Rule
3.02(a)(2), this case management report should be used in all civil cases except
those described in Local Rule 3.02(d). Individual judges may have additional case
management preferences that can be found under each judge’s name on the
Court’s website, flmd.uscourts.gov/judges/all.

1. Date and Attendees

     The parties may conduct the planning conference “in person, by telephone, or by
     comparable means[.]” See Local Rule 3.02(a)(1).

     The parties conducted the planning conference on enter date. Enter names
     attended the conference.

2. Deadlines and Dates

     The parties request these deadlines and dates:

     Action or Event                                                            Date

     Deadline for providing mandatory initial disclosures. See Fed. R.
                                                                                Enter a date.
     Civ. P. 26(a)(1).

     Deadline for moving to join a party, see Fed. R. Civ. P. 14, 19, and 20,
                                                                                Enter a date.
     or amend the pleadings, see Fed. R. Civ. P. 15(a).

     Plaintiff’s deadline for disclosing any expert report. See Fed. R. Civ.    Enter a date.
     P. 26(a)(2).
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    Defendant’s deadline for disclosing any expert report.                    Enter a date.

    Deadline for disclosing any rebuttal expert report.                       Enter a date.

    Deadline for completing discovery and filing any motion to compel
                                                                              Enter a date.
    discovery. See Fed. R. Civ. P. 37; Middle District Discovery (2021).

    Deadline for moving for class certification, if applicable. See Fed. R.   Enter a date.
    Civ. P. 23(c).

    Deadline for filing any dispositive and Daubert motion. See Fed. R.
                                                                              Enter a date.
    Civ. P. 56. (Must be at least five months before requested trial date.)

    Deadline for participating in mediation. See Local Rules, ch. 4.
    Enter mediator’s name, address, and phone number.                         Enter a date.



    Date of the final pretrial meeting. See Local Rule 3.06(a).               Enter a date.

    Deadline for filing the joint final pretrial statement, any motion in
    limine, proposed jury instructions, and verdict form. See Local Rule
                                                                              Enter a date.
    3.06(b). (Must be at least seven days before the final pretrial
    conference.)

    Date of the final pretrial conference. See Fed. R. Civ. P. 16(e); Local
                                                                              Enter a date.
    Rule 3.06(b).

    Month and year of the trial term.                                         Enter a date.


   The trial will last approximately enter number days and be

   ☐ jury.
   ☐ non-jury.

3. Description of the Action

   In a few sentences, describe the nature of the action and its complexity.




4. Disclosure Statement
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   ☐ The parties have filed their disclosure statement as required by Federal Rule
   of Civil Procedure 7.1 and Local Rule 3.03.

5. Related Action

   ☐ The parties acknowledge their continuing duty under Local Rule 1.07(c) to
   notify the judge of a related action pending in the Middle District or elsewhere
   by filing a “Notice of a Related Action.” No notice need be filed if there are no
   related actions as defined by the rule.

6. Consent to a Magistrate Judge

   “A United States magistrate judge in the Middle District can exercise the maximum
   authority and perform any duty permitted by the Constitution and other laws of the
   United States.” Local Rule 1.02(a). With the parties’ consent, a district judge can refer
   any civil matter to a magistrate judge for any or all proceedings, including a non-jury
   or jury trial. 28 U.S.C. § 636(c).

   The Court asks the parties and counsel to consider the benefits to the parties and the
   Court of consenting to proceed before a magistrate judge. Consent can provide the
   parties certainty and flexibility in scheduling. Consent is voluntary, and a party for
   any reason can decide not to consent and continue before the district judge without
   adverse consequences. See Fed. R. Civ. P. 73(b)(2).

   ☐ The parties do consent and file with this case management report a
   completed Form AO 85 “Notice, Consent, and Reference of a Civil Action to a
   Magistrate Judge,” which is available on the Court’s website under “Forms.”
   ☐ The parties do not consent.

7. Preliminary Pretrial Conference

   ☐ The parties do not request a preliminary pretrial conference before the Court
   enters a scheduling order.
   ☐ The parties do request a preliminary pretrial conference, and the parties
   want to discuss enter discussion points.




8. Discovery Practice
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   The parties should read the Middle District Discovery Handbook, available on the
   Court’s website at flmd.uscourts.gov/civil-discovery-handbook, to understand
   discovery practice in this District.

   ☐ The parties confirm they will comply with their duty to confer with the
   opposing party in a good faith effort to resolve any discovery dispute before
   filing a motion. See Local Rule 3.01(g); Middle District Discovery (2021) at § I.A.2.

9. Discovery Plan

   The parties submit the following discovery plan under Rule 26(f)(2):

   A.   The parties agree to the timing, form, or requirement for disclosures
        under Rule 26(a):

        ☐ Yes.
        ☐ No; instead, the parties agree to these changes: enter changes.

   B.   Discovery may be needed on these subjects: list the subjects.

   C.   Discovery should be conducted in phases:

        ☐ No.
        ☐ Yes; describe the suggested phases.

   D.   Are there issues about disclosure, discovery, or preservation of
        electronically stored information?

        ☐ No.
        ☐ Yes; describe the issue(s).

   E.   ☐ The parties have considered privilege and work-product issues,
        including whether to ask the Court to include any agreement in an
        order under Federal Rule of Evidence 502(d).



   F.   The parties stipulate to changes to the limitations on discovery imposed
        under the Federal Rules of Civil Procedure and Local Rule 3.04 or other
        limitations:
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          ☐ No.
          ☐ Yes; describe the stipulation.

10. Request for Special Handling

    ☐ The parties do not request special handling.
    ☐ The parties request special handling. Specifically, describe requested special
    handling.
    ☐ Enter party’s name unilaterally requests special handling. Specifically,
    describe requested special handling.

11. Certification of familiarity with the Local Rules

    ☐ The parties certify that they have read and are familiar with the Court’s
    Local Rules.

12. Signatures



 Add name of party or counsel                Add name of party or counsel
 If counsel, add name of client              If counsel, add name of client
 Add date of signature                       Add date of signature




 Add name of party or counsel                Add name of party or counsel
 If counsel, add name of client              If counsel, add name of client
 Add date of signature                       Add date of signature




 Add name of party or counsel                Add name of party or counsel
 If counsel, add name of client              If counsel, add name of client
 Add date of signature                       Add date of signature
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  AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge


                                            UNITED STATES DISTRICT COURT
                                                           for the

                                                Middle District of Florida

                                                               )
                          Plaintiff
                                                               )
                             v.                                      Civil Action No.
                                                               )
                                                               )
                                                               )
                        Defendant


   NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

            Notice of a magistrate judge’s availability. A United States magistrate judge of this court is
  available to conduct all proceedings in this civil action (including a jury or nonjury trial) and to order
  the entry of a final judgment. The judgment may then be appealed directly to the United States court
  of appeals like any other judgment of this court. A magistrate judge may exercise this authority only
  if all parties voluntarily consent.

          You may consent to have your case referred to a magistrate judge, or you may withhold your
  consent without adverse substantive consequences. The name of any party withholding consent will
  not be revealed to any judge who may otherwise be involved with your case.

           Consent to a magistrate judge’s authority. The following parties consent to have a United States
  magistrate judge conduct all proceedings in this case including trial, the entry of final judgment, and
  all post-trial proceedings.

           Parties’ printed names                      Signatures of parties or attorneys                  Dates




                                                     Reference Order
           IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all
  proceedings and order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed.
  R. Civ. P. 73.


  Date:
                                                                              District Judge’s signature



                                                                                Printed name and title
 Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a
 United States magistrate judge. Do not return this form to a judge.
